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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Massachusetts

 

 

 

 

)
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
Vv. )
TIMOTHY MOYNIHAN Case Number: 10-10288-002-MLW
USM Number: 93354-038
) James L. Sultan
Defendant's Attorney

THE DEFENDANT:

L] pleaded guilty to count(s) ee a

(J pleaded nolo contendere to count(s) — a

which was accepted by the court.

if was found guilty on count(s) 1s,28,3848 58 0 -

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 USC § 846 Conspiracy to Distribute at least 28 grams of Cocaine Base 01/10 1s
21 USC § 841(a)(1) Distribution of Cocaine Base 1/7/2010 2s
21 USC § 841(a)(1) Possession with intent to distribute and distribution of cocaine base 1/11/2010 38

The defendant is sentenced as provided in pages 2 through > _ of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

L] The defendant has been found not guilty on count(s) ee a ; ee _
C)Count(s) Ois Care dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

3/8/2012

Date of Imposition of Judgment

Signature of Judge

 

 

Mark L. Wolf, Chief Judge

“Name and Title of Judge -

Aw 2, Wie - ee

Date

 

 

 
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AO 245B (Rev 09/11) Judgment in a Criminal Case
Sheet 1A

Judgment—Page

 

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
21 USC § 841(a){1) Distribution of Cocaine Base 1/13/2010 As

21 USC § 841(a)(1) Distribution of Cocaine Base 1/15/2010 5s
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AO 245B (Rev 09/11) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 3 of 4

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

150 months.

aw The court makes the following recommendations to the Bureau of Prisons:

That the defendant serve his prison sentence in a facility that can provide him with intensive drug treatment and mental health
treatment.

wf The defendant is remanded to the custody of the United States Marshal.

L) The defendant shall surrender to the United States Marshal for this district:
4 sat [i am. (J pm. on
L) as notified by the United States Marshal.

L] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[before 2 p.m. on

 

L) as notified by the United States Marshal.

L) as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant deliveredon es 0 Se
a oe a . with a certified copy of this judgment.
oO ~~ UNITED STATES MARSHAL OO
By —

 

DEPUTY UNITED STATES MARSHAL |
Case 1:10-cr-10288-MLW Document 193 Filed 04/02/12 Page 4 of 11

AO 245B (Rev 09/11) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 4 sof __ vv

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW
SUPERVISED RELEASE

Upon release from imprisonment. the defendant shall be on supervised release for a term of :
108 months

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shal! not commit another federal, state or local crime.

The defendant shail not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

L]_ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check. applicable.)

The defendant shall not possess a firearm, ammunition, destructive device. or any other dangerous weapon, (Check if upplicuble 1

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ifappticable.)

oOo Xs

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e¢ seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, fapphcable.)

L] The defendant shall participate in an approved program for domestic violence. (Check. if apphcable.)

if this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
4) the defendant shall support his or her dependents and meet other family responsibilities:

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training. or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
12) the defendant shail not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement.
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AO 245B (Rev 09/11) Judgment in a Cnminal Case
Sheet 3C — Supervised Release

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DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant is prohibited from possessing a firearm, destructive device, or other dangerous weapon.

2. The defendant is to participate in a program for substance abuse treatment as directed by the United States Probation
Office, which program may include testing, not to exceed 104 drug tests per year, to determine whether the defendant has
reverted to the use of alcohol or drugs. The defendant shall be required to contribute to the costs of services for such
treatment based on the ability to pay or availability of third- party payment.

3. The defendant is to participate in a mental health program as directed by the United States Probation Office. The
defendant shall be required to contribute to the costs of services for such treatment based on the ability to pay or
availability of third party payment.

4. The defendant is not to consume any alcoholic beverages.
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AO 245B (Rev 09/11) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page é of as

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment Fine Restitution
TOTALS $ 500.00 $ $
[] The determination of restitution is deferred until — . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS S 0.00 § / _ 0.00

(1 Restitution amount ordered pursuant to plea agreement $

[1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment. pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[1 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[1 the interest requirement is waived forthe () fine [1 restitution.

CL] the interest requirement forthe (] fine [1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B (Rev 09/11) Judgment ina Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 72 of Zz.

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A Ww Lump sum payment of $ 900.00 __..__ due immediately, balance due
[J notlaterthan ssi
[]  inaccordance Oc OF DD, OQ E,or {CF below; or
B (Payment to begin immediately (may be combined with [C, [] D,or [)F below); or
C (Payment in equal — fe.g., weekly, monthly, quarierly installments of $ over a period of
__ fe.g., months or years), to commence __ fe.g.. 30 or 60 days) after the date of this judgment; or
D (Payment in equal ___ te.g., weekly, monthly, quarterly) installments of $ over a period of
_ fe.g., months or years), to commence ____ e.g, 30 or 60 days) after release from imprisonment to a

 

term of supervision; or

E [Payment during the term of supervised release will commence within fe.gz., 30 or 60 days, after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time: or

F  (] Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All crimina monetary penalties, except those payments made through the Federal Bureau of Prisons’ [Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

LJ = Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, 1f appropriate.

L]_ The defendant shall pay the cost of prosecution.
L] The defendant shall pay the following court cost(s):

(The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B (Rev 09/t1) Judgment in a Criminal Case
Attachment (Page |) — Statement of Reasons

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW
DISTRICT: District of Massachusetts

STATEMENT OF REASONS

] COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

A vf The court adopts the presentence investigation report without change.
except some paragraphs that did not involve the defendant were deleted.

B The court adopts the presentence investigation report with the following changes.

(Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report. 1f applicable )
(Use page 4 if necessary.)

| L] Chapter Two of the U.S.S.G. Manual determinations by court (including changes to base offense level. or

specific offense characteristics)

2 [] Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victum-related adjustments.
role in the offense. obstruction of justice, multiple counts, or acceptance of responsibility)

3 | Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or

scores, career offender, or criminal livelihood determinations)

4 L] Additional Comments or Findings (including comments or factual findings concerning certain information in the

presentence report that the Federal Bureau of Pnsons may rely on when it makes mmate classification, designation,
or programming decisions)

Cc oO The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

Il COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apph)

A No count of conviction carries a mandatory minimum sentence

B vw Mandatory minimum sentence imposed

c 0 One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
sentence imposed 1s below a mandatorn, minimum term because the court has determined that the mandatory minmum

does not apply based on

[_} findings of fact in this case
O substantial assistance (18 USC § 3553(e))

[] the statutory safety valve (18 USC § 35531)

It} COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

Total Offense Level: 37

Criminal History Category: Vi oe

Imprisonment Range: 360 _ to LIFE months ~
Supervised Release Range: 8 —— to LIFE years
Fine Range:$ 20,000 — to $ 16,000,000 _

wo Fine waived or below the guideline range because of inability to pay.
AO 245B

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(Rev 09/11) Judgment in a Criminal Case
Attachment (Page 2) — Statement of Reasons

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER:  10-10288-002-MLW

DISTRIC

T: District of Massachusetts
STATEMENT OF REASONS

IV. ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one)

A

B

D

C] The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reasou to depart

LI The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
(Use page 4 if necessary.)

| The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
(Also complete Section V1)

val The court imposed a sentence outside the advisory sentencing guideline system. (4/so complete Section VL)

Vv DEPARTURES AUTIIORIZED BY THE ADVISORY SENTENCING GUIDELINES (/f/ applicable.)

A

Cc

4Al
SHI
SHI
SHI
SHI 4
SHI 5
5H1 6
SHI 11

Ww Wo Ww

O OOOOOOOO

5K20

D

The sentence imposed departs (Check only one.):
L] below the advisory guideline range
[] above the advisory guideline range

Departure based on (Check all that apply):

I Plea Agreement (Check all that apply and check reason(s) below. ):

5K1.1 plea agreement based on the defendant’s substantial assistance

5K3.1 plea agreement based on Early Disposition or “Fast-track” Program

binding plea agreement for departure accepted by the court

plea agreement for departure, which the court finds to be reasonable

plea agreement that states that the government will not oppose a defense departure motion.

OOooOo

2 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below s:
[] 5K1.1 government motion based on the defendant’s substantial assistance
[J 5K3.1 government motion based on Early Disposition or “Fast-track” program
[J] government motion for departure
[J defense motion for departure to which the government did not object
(J defense motion for departure to which the government objected

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e
7

C] Other than a plea agreement or motion by the parties for departure (Check reason(s) below):

Reason(s) for Departure (Check all that apply other than SK1.1 or SK3.1)

Criminal! History Inadequacy (J 5K21 Death [] 5K211 Lesser Harm
Age [J 5K22 — Physical Injury [] 5K2 12° Coercion and Duress
Education and Vocational Skills (] 5K23 — Extreme Psychological Injury [] 5K213) Diminished Capacity
Mental and Emotional Condition [] 5K24 0 Abduction or Unlawful Restraint [] 5K2 14 Pubhe Welfare
Physical Condition [] 5K25 Property Damage or Loss [] 5K216 Voluntary Disclosure of Otlense
Employment Record (] 5K26 Weapon or Dangerous Weapon [] 5K217) High-Capacity, Semiautomatic Weapon
Family Tres and Responsibilities C] SK27 Disruption of Government Function CL] SK218 Violent Street Gang
Military Record, Charitable Service, (J 5K28 — Extreme Conduct [] 5K220 Aberrant Behavior
Good Works (] $k29 Criminal Purpose [J 5K221 Dismissed and Uncharged Conduct
Aggravating or Mitigating Circumstances [[] 5K2 10 Victim's Conduct [] 5K2.22. Age or Health of Sex Offenders
(] 5K2 23 Discharged Terms of [mprisonment
C] Other guideline basis (e.g. 2B1 | commentary }

Explain the facts justifying the departure. (Use page 4 ifnecessary)
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AO 245B (Rev 09/11) Judgment ina Criminal Case
Attachment (Page 3) — Statement of Reasons

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW
DISTRICT: District of Massachusetts

STATEMENT OF REASONS

VI COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
(Check all that apply)

A The sentence imposed is (Check only one.):
of below the advisory guideline range
L] above the advisory guideline range

B Sentence imposed pursuant to (Check all that apply):

l Plea Agreement (Check all that apply and check reason(s) below.}:
[] | binding plea agreement for a sentence outside the advisory guideline system accepted by the court
(-] _ plea agreement for a sentence outside the advisory guideline system. which the court finds to be reasonable
CJ plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisor, zurdeline

system

2 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below. ):
government motion for a sentence outside of the advisory guideline system
defense motion for a sentence outside of the advisory guideline system to which the government did not object

[.] | defense motion for a sentence outside of the advisory guideline system to which the government objected

Other

LJ Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reasonts! below )

ive)

Cc Reason(s) for Sentence Outside the Advisory Guideline System (Check all that appl 1

rv 4 the nature and circumstances of the offense and the mstory and charactersties of the defendant pursuant to 18 GSC 8 3553tait 1)

to reflect the seriousness of the offense. to promote respect for the law, and to provide just punishment for the offense (18 USC ¥ 3553(an2 yA
to afford adequate deterrence to criminal conduct (18 USC § 3553(a2)(B))

to protect the public from further erimes of the defendant (18 US C 8 3553(a)2\(C))

to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
(I8USC 8 3553(a)(2)(D))

to avoid unwarranted sentencing disparities among defendants (18 US C. § 3553(a)(6))

OO OOO

to provide restitution to any victims of the offense (18 USC. § 3553(a\(7))

D Explain the facts justifying a sentence outside the advisory guideline system. (l'se puge 4 if necessary)
The defendant was a Career Offender, based on relatively minor predicate offenses. The offenses of conviction
were relatively minor drug distributions. The government requested a 188 month sentence. The defendant had
served more than two years in custody. 150 months in custody was deemed sufficient but no more than
necessary.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Attachment (Page 4) — Statement of Reasons

DEFENDANT: TIMOTHY MOYNIHAN
CASE NUMBER: 10-10288-002-MLW

DISTRICT: District of Massachusetts
STATEMENT OF REASONS

VIET COURT DETERMINATIONS OF RESTITUTION
A 7 Restitution Not Applicable.
B Total Amount of Restitution:
C Restitution not ordered (Check onl) oney:

1 [_] For offenses for which restitution is otherwise mandatory under 18 US C § 3663A, restitution 1s not ordered because the number of
identifiable victims 1s so large as to make restitution impracticable under 18 US C 8 3663A(c)(3 (A)

O

For offenses for which restitution 1s otherwise mandatory under 18 U S.C ¥ 3663A, restitution 1s not ordered because determining complex

issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 US C 8 3663A(e"3 0B)

O

For other offenses for which restitution 1s authorized under 18 USC § 3663 and/or required by the sentencing guidelines, restitution Is not

ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order vutweigh
the need to provide restitution to any victims under 18 US C$ 3663(a)(1(B)(1)

4 [-] Restitution 1s not ordered for other reasons (Explain

D (C1 Partial restitution is ordered for these reasons (78 U.S.C § 3553fe)):

VI ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (/f applicable ;

Sections I, II. HI, IV, and VII of the Statement of Reasons form must be completed in all felony cases.

 

 

Defendant's Soc. Sec. No... XXX-XX-XXXX Date of Imposition of Judgment
3/8/2012 oe
Defendant's Dateof Birth: 0/0/1975 a
—_\__._LA ora, C Hie.
Defendant’s Residence Address: Signature o(\Judge
Haverhill, MA Mark L. Wolf, Chief Judge
Defendant's Mailing Address: Name and Title of Judge

 

Donald Wyat Detention Center, Central Falls, MA Date Signed _
